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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9
     UNITED STATES OF AMERICA,                             NO. MJ14-287
10

11                                  Plaintiff,

12          v.                                             DETENTION ORDER

13   DANIEL MENDOZA-FLORES,
14                                  Defendant.
15

16   Offense charged:

17          Count 1:         Alien in Possession of a Firearm
18   Date of Detention Hearing: July 9, 2014
19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22          (1)       An immigration detainer has been placed on defendant by the United States
23   Immigration and Customs Enforcement.
24          (2)       Defendant has stipulated to detention, due to the immigration detainer lodged
25   against him, but reserves the right to contest his continued detention if there is a change in
26   circumstances.


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           IT IS THEREFORE ORDERED:
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           (1)    Defendant shall be detained and shall be committed to the custody of the
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                  Attorney General for confinement in a correction facility separate, to the extent
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                  practicable, from persons awaiting or serving sentences or being held in custody
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                  pending appeal;
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           (2)    Defendant shall be afforded reasonable opportunity for private consultation with
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                  counsel;
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           (3)    On order of a court of the United States or on request of an attorney for the
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                  government, the person in charge of the corrections facility in which defendant
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                  is confined shall deliver the defendant to a United States Marshal for the
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                  purpose of an appearance in connection with a court proceeding; and
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           (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
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                  counsel for the defendant, to the United States Marshal, and to the United States
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                  Pretrial Services Officer.
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           DATED this 9th day of July, 2014.
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17                                              AJAMES P. DONOHUE
18                                               United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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